

Matter of Georges (2023 NY Slip Op 00477)





Matter of Georges


2023 NY Slip Op 00477


Decided on February 2, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 2, 2023

PM-19-23
[*1]In the Matter of James Andrew Georges, an Attorney. (Attorney Registration No. 2949253.)

Calendar Date:January 30, 2023

Before:Lynch, J.P., Clark, Reynolds Fitzgerald, Ceresia and McShan, JJ.

James Andrew Georges, Glenside, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
James Andrew Georges was admitted to practice by this Court in 1999 and lists a business address in Glenside, Pennsylvania with the Office of Court Administration. Georges now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Georges' application.
Upon reading Georges' affidavit sworn to December 12, 2022 and filed December 14, 2022, and upon reading the January 24, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Georges is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Reynolds Fitzgerald, Ceresia and McShan, JJ., concur.
ORDERED that James Andrew Georges' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that James Andrew Georges' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that James Andrew Georges is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Georges is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that James Andrew Georges shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








